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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF INDIANA
                      FORT WAYNE DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )
                                        )
           v.                           )
                                        )     Cause No.
SIG-SAUER P320 PISTOL CAL:9             )
SN: 58J108146;                          )
                                        )
SIG-SAUER SP2022 PISTOL CAL:9           )
SN: 24B258521;                          )
                                        )
SIG-SAUER P365 XL PISTOL CAL:9          )
SN: 66A187714;                          )
                                        )
SIG-SAUER P226 ELITE PISTOL             )
CAL:40 SN: U649982;                     )
                                        )
GLOCK INC. 21 PISTOL CAL:45             )
SN: AETS667;                            )
                                        )
MAGNUM RESEARCH, INC.                   )
DESERT EAGLE PISTOL CAL:50              )
SN: DK0094804;                          )
                                        )
SIG-SAUER P220 PISTOL CAL:10            )
SN: 37C015228;                          )
                                        )
SIG-SAUER 1911 PISTOL CAL:45            )
SN :54B098515                           )
                                        )
SIG-SAUER P220 PISTOL CAL:45            )
SN: 37B027720;                          )
                                        )
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SIG-SAUER 1911 PISTOL CAL:45   )
SN: 54B172535;                 )
                               )
SIG-SAUER P226 PISTOL CAL:9    )
SN: 47A199195;                 )
                               )
FRANKLIN ARMORY FAI-15 RIFLE   )
CAL: MULTI SN: A-10622;        )
                               )
KALASNIKOV USA, RIFLE,         )
MODEL KR103                    )
UNKNOWN RIFLE CAL:762          )
SN: K3R0016699;                )
                               )
PALMETTO STATE ARMORY PSAK47 )
RIFLE CAL:762 SN: AKB036305;   )
                               )
SIG-SAUER P226 PISTOL CAL:9    )
SN: 47E006516;                 )
                               )
RUGER RUGER-57 PISTOL CAL:57   )
SN:643-78043;                  )
                               )
FNH USA, LLC FNX-45 PISTOL     )
CAL:45 SN: FX3U014585;         )
                               )
SIG-SAUER P320 PISTOL CAL:40   )
SN: 58C183806;                 )
                               )
CANIK55 SFX RIVAL PISTOL CAL:9 )
SN: 22CM03504;                 )
                               )
FNH USA, LLC,                  )
UNKNOWN PISTOL                 )
CAL: 22 SN :LR003141;          )
                               )
MAGNUM RESEARCH, INC.          )
DESERT EAGLE PISTOL            )
CAL: UNKNOWN SN: PB-A1572;     )
                               )


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TAURUS INTERNATIONAL                           )
THE JUDGE REVOLVER                             )
CAL:45/410 SN: ACL474552;                      )
                                               )
AERO PRECISION X15                             )
RIFLE CAL: MULTI                               )
SN: X461453;                                   )
                                               )
and                                            )
                                               )
ASSORTED AMMUNITION.                           )
                                               )
                   Defendants in rem.          )

                      VERIFIED COMPLAINT IN REM

      Comes now Plaintiff, United States of America, by its counsel, Clifford

D. Johnson, United States Attorney for the Northern District of Indiana,

through Sharon Jefferson, Assistant United States Attorney, and brings this

complaint and alleges as follows in accordance with Supplemental Rule G(2) of

the Federal Rules of Civil Procedure:

                          NATURE OF THE ACTION

   1. This is a civil forfeiture action in rem to forfeit all right, title, and interest

in the Defendants in rem pursuant to 18 U.S.C. § 981(a)(1)(C) to any property

traceable to a violation of offenses constituting specified. The Defendant

Properties constitute or are proceeds derived from violations of 18 U.S.C. §

922(a)(1).

   2. This is an action to forfeit and condemn to the use and benefit of the

United States of America, pursuant to 21 U.S.C. ' 881(a)(6), the following

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Defendant Properties.

                    THE DEFENDANT PROPERTIES

   3. The Defendants (Collectively Defendant Properties”) consist of the

following properties:

   A. Firearms (Collectively “Defendant Firearms”)

      SIG-SAUER P320 Pistol CAL:9 SN: 58J108146;
      SIG-SAUER SP2022 Pistol CAL:9 SN: 24B258521
      SIG-SAUER P365 XL Pistol CAL:9 SN: 66A187714
      SIG-SAUER P226 ELITE Pistol CAL:40 SN: U649982
      GLOCK INC. 21 Pistol CAL:45 SN: AETS667
      MAGNUM RESEARCH, INC. DESERT EAGLE Pistol CAL:50 SN:
       DK0094804
      SIG-SAUER P220 Pistol CAL:10 SN: 37C015228
      SIG-SAUER 1911 Pistol CAL:45 SN :54B098515
      SIG-SAUER P220 Pistol CAL:45 SN: 37B027720
      SIG-SAUER 1911 Pistol CAL:45 SN: 54B172535
      IG-SAUER P226 Pistol CAL:9 SN: 47A199195
      FRANKLIN ARMORY FAI-15 Rifle CAL: MULTI SN: A-10622
      KALASNIKOV USA, Rifle, model KR103; CAL:762 SN: K3R0016699
      PALMETTO STATE ARMORY PSAK47 Rifle CAL:762 SN: AKB036305
      SIG-SAUER P226 Pistol CAL:9 SN: 47E006516
      RUGER, model RUGER-57 Pistol CAL:57 SN:643-78043
      FNH USA, LLC FNX-45 Pistol CAL:45 SN: FX3U014585
      SIG-SAUER P320 Pistol CAL:40 SN: 58C183806
      CANIK55 SFX RIVAL Pistol CAL:9 SN: 22CM03504
      FNH USA, LLC, Unknown Pistol CAL:22 SN :LR003141
      MAGNUM RESEARCH, INC. DESERT EAGLE Pistol CAL: Unknown
       SN: PB-A1572
      TAURUS INTERNATIONAL THE JUDGE Revolver CAL:45/410 SN:
       ACL474552
      AERO PRECISION X15 Rifle CAL: MULTI SN: X461453

   B. Assorted Ammunition (Collectively “ Defendant Ammunition”)

   1. The Defendant properties were seized by law enforcement officers on


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March 21, 2023, from 3426 Merrimack Place, Fort Wayne, Indiana. The

Defendant Firearms and Defendant Ammunition are in the custody of the

Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”). The Defendant

Currency is in the custody of the United States Marshal’s Service.

                         JURISDICTION AND VENUE

   2. Plaintiff brings this action in rem to forfeit and condemn the Defendant

Properties.   This Court has subject matter jurisdiction over a civil action

commenced by the United States under 28 U.S.C. ' 1345, and pursuant to 28

U.S.C. ' 1355(a), as this is an action or proceeding for forfeiture.

   3. This Court has both in rem and subject matter jurisdiction over the

Defendant Properties under 28 U.S.C. ' 1355(b).

   4. Venue is proper in this district pursuant to 28 U.S.C. ' 1395(b), because

the acts giving rise to the forfeiture occurred in this district and the Defendant

Properties were located within this district.

                                     FACTS

   5. Beginning in approximately the Fall of 2022, ATF initiated an

investigation of Jason S. Stuart, a convicted felon, who was suspected of

manufacturing and dealing firearms without a license from his business, CJ

Tactical Supply, LLC. (“CJ Tactical”) The ATF’s investigation revealed that

other individuals, including Hayden Sweet were working with Stuart at CJ

Tactical. The ATF’s investigation revealed that Stuart, Sweet, and CJ Tactical

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were not licensed to manufacture and/or deal firearms.

   6. Between on or about August 18, 2022 and March 21, 2023, Jason Stuart,

Hayden Sweet, and CJ Tactical engaged in the business of dealing in firearms,

for profit, within the meaning of 18 U.S.C. § 922(a)(21)(C).

   7. By willfully engaging in the business of dealing in firearms, without a

license, Jason Stuart and Hayden Sweet violated 18 U.S.C. § 922(a)(1)(A).

   8. Pursuant to the ATF’s investigation, on March 21, 2023, a search

warrant was executed at a home located at 3426 Merrimack Place, Fort Wayne,

Indiana 46825 (“Home” or “residence”). ATF determined that Sweet and Stuart

lived at this residence.

   9. During the execution of the search warrant, officers determined that

Jason Stuart and Melissa Nichter occupied the master bedroom in this home.

Melissa. Nichter was present in the home during the search. The officers

further determined that Hayden Sweet occupied another bedroom at this

home.

   10.      Officers recovered tax documents in the kitchen belonging to Jason

Stuart and Melissa Nichter. There were also financial documents for Hayden

Sweet located in the kitchen.

   11.      Pursuant to the search of the master bedroom, the officers

recovered the following items:

       $431.00 in United States currency in the master bedroom dresser

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       $3,080.00 in United States currency in the master bedroom inside of
        the safe
       $12,750 in United States currency on a shelf in the master bedroom.
       Sig-Sauer, handgun, Model P365XL, 9mm caliber, Serial Number
        66A187714 loaded with 14 rounds of ammunition in the magazine
       Sig-Sauer, handgun, model P226, .40 caliber, serial number
        U649982, loaded with 13 rounds of ammunition
       Glock, handgun, model 21Gen4, .45 caliber, serial number AETS667,
        loaded with 9 rounds of ammunition
       Magnum Research Inc, model Desert Eagle Pistol, .50 caliber, serial
        number DK0094804
       Sig-Sauer, model P220, 10mm, serial number 37C015228
       Magnum Research Inc., Desert Eagle Pistol, .40 caliber, serial
        number PB-A1572
       Sig-Sauer, Model 1911, .45 caliber, serial number 54B098515,
       Kalasnikov USA, rifle, model KR103, 7.62x39 caliber, serial number
        K3R0016699
       Sig-Sauer, Model P220, .45 caliber, serial number 37B027720
       Sig-Sauer, Model 1911, .45 caliber, serial number 54B172535
       Sig-Sauer, Model P226Elite, 9mm caliber, serial number 47A199195
       Palmetto State Armory, rifle, model PSAK47, 7.62x39 caliber, serial
        number AKB036305
       Sig-Sauer, pistol, model P226, 9mm, serial number 47E006516 with
        10 rounds of ammunition
       Ruger, pistol, model Ruger-57, 5.7x28 caliber, serial number 643-
        78043
       834 rounds of assorted ammunition in the master bedroom closet
       1000 rounds of assorted ammunition in the master bedroom closet
       1,541 rounds of assorted ammunition located in the safe in the
        master bedroom
       2,140 rounds of assorted ammunition was located in the safe in the
        master bedroom

   12.      Pursuant to the search of the bedroom occupied by Hayden Sweet,

the officers recovered the following items:

       Sig-Sauer, Model P320, 9mm caliber, Serial number 58J108146
        firearm
       Sig-Sauer, Model SP2002, 9mm caliber, Serial number 24B258521


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   13.      Pursuant to their search, officers recovered the following from a
third bedroom:
          Franklin Armory, model FAI-15, rifle, multi-caliber, serial
            number A-10622

   14.      Pursuant to their search, the officers recovered the following

items from the attached garage:

       Canik, pistol, model SPX Rival, 9mm caliber, serial number T6472-
        22CM03504
       FNH, pistol, model FNX-45, .45 caliber, serial number FX3U014585
       FNH, pistol, model 502, .22 caliber, serial number LR003141
       Sig-Sauer, pistol, model P320, .40 caliber, serial number 58C183806,
       Taurus, revolver, model Judge, .45/.410 caliber, serial number
        ACL474552
       Aero Precision, rifle, Model X-15, serial number X461453, “multi”
        caliber
       19,689 rounds of assorted ammunition located on shelves inside of
        the attached garage.
       Two (2) boxes of financial documents labeled “2021” sales were
        located in the attached garage
       Four boxes of financial documents for CJ Tactical LLC for 2022 were
        located on a shelf in the attached garage
       Binders containing financial documents for CJ Tactical LLC were
        located on a desk inside of the attached garage


   15.      Based on further investigation, ATF determined that $1,050 of the

$12,750 that was recovered on a shelf in the master bedroom was buy money.

The $1,050 was identified as United States Currency utilized by an ATF

Undercover Officer to make controlled purchases of firearms and firearm parts

from CJ Tactical on March 8, 2023 and March 17, 2023. The $1,050 was

removed from the $12,750 and retained as evidence.



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                           CLAIM FOR RELIEF

   16.      The Plaintiff alleges and incorporates by reference the paragraphs

above. By the foregoing and other acts, the Defendant Firearms and

ammunition, were involved in the willful violation of 18 U.S.C. § 922(a)(1)(A).

   17.      The Defendant Properties, are therefore subject to forfeiture to the

United States of America pursuant to 18 U.S.C. § 924(d).

      WHEREFORE, the Plaintiff requests that the Court issue a warrant and

summons for the arrest and seizure of the Defendant Properties; that notice of

this action be given to all persons known or thought to have an interest in or

right against the Defendant Properties; that the Defendant Properties be

forfeited and condemned to the United States of America; that the plaintiff be

awarded its costs and disbursements in this action; and that the Court award

the plaintiff such other and further relief as this Court deems proper and just.

                                    Respectfully submitted,

                                    CLIFFORD D. JOHNSON
                                    UNITED STATES ATTORNEY

                              By:   /S/ Sharon Jefferson
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                              VERIFICATION

      I, Special Agent Thomas W. Kaiser, hereby verify and declare under

penalty of perjury that I am a Special Agent with the United States Bureau of

Alcohol, Tobacco, Firearms and Explosives, that I have read the foregoing

Verified Complaint In Rem and know the contents thereof, and that the

matters contained in the complaint are true to my own knowledge, except that

those matters not within my own personal knowledge are alleged on

information and belief, and as to those matters I believe them to be true.

      The sources of my knowledge and information and the grounds of my

belief are the official files and records of the United States, information

supplied to me by other law enforcement officers, as well as my investigation

of this case, together with other officers, as a Special Agent of the Bureau of

Alcohol, Tobacco, Firearms and Explosives.

      I hereby verify and declare under penalty of perjury that the foregoing

is true and correct.


      Dated this ___
                 22 day of August, 2023.

                                           ________________________________
                                           Thomas W. Kaiser
                                           ATF Special Agent




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